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                                                                                                                                                                    DATE (MM/DD/YYYY)
                                                   CERTIFICATE OF LIABILITY INSURANCE                                                                                    10/15/2018
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
  If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
  this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
PRODUCER                                                                                       CONTACT
                                                                                               NAME:
SterlingRisk                                                                                   PHONE                                                  FAX
135 Crossways Park Drive                                                                       (A/C, No, Ext): 800-767-7837                           (A/C, No):   516-487-0372
                                                                                               E-MAIL
P.O. Box 9017                                                                                  ADDRESS: request@sterlingrisk.com
Woodbury NY 11797                                                                                                   INSURER(S) AFFORDING COVERAGE                                   NAIC #

                                                                                               INSURER A :   Zurich American Insurance Company                                      16535
                                                        MATTFIR-01
INSURED                                                                                        INSURER B :   Great American Ins. Company of NY                                      22136
Mattress Firm, Inc.
10201 S. Main Street                                                                           INSURER C :   Illinois Union Insurance Company                                       27960
Houston TX 77025                                                                               INSURER D :

                                                                                               INSURER E :

                                                                                               INSURER F :
COVERAGES                                         CERTIFICATE NUMBER: 2043472287                                                    REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                                    ADDL SUBR                                      POLICY EFF   POLICY EXP
 LTR                 TYPE OF INSURANCE                  INSD WVD           POLICY NUMBER              (MM/DD/YYYY) (MM/DD/YYYY)                            LIMITS
 A     X    COMMERCIAL GENERAL LIABILITY                  Y    Y  GLO 038133-03                          7/1/2018        7/1/2019   EACH OCCURRENCE                $ 1,000,000
                                                                                                                                    DAMAGE TO RENTED
                  CLAIMS-MADE         X   OCCUR                                                                                     PREMISES (Ea occurrence)       $ 1,000,000
                                                                                                                                    MED EXP (Any one person)       $ 10,000
                                                                                                                                    PERSONAL & ADV INJURY          $ 1,000,000

       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                           GENERAL AGGREGATE              $ 2,000,000

           POLICY
                      PRO-
                      JECT
                                X LOC                                                                                               PRODUCTS - COMP/OP AGG         $ 2,000,000

            OTHER:                                                                                                                                                 $
 A     AUTOMOBILE LIABILITY                               Y    Y     BAP 0381331-03                      7/1/2018        7/1/2019   COMBINED SINGLE LIMIT          $ 2,000,000
                                                                                                                                    (Ea accident)
       X    ANY AUTO                                                                                                                BODILY INJURY (Per person)     $
            OWNED                     SCHEDULED                                                                                     BODILY INJURY (Per accident) $
            AUTOS ONLY                AUTOS
            HIRED                     NON-OWNED                                                                                     PROPERTY DAMAGE                $
            AUTOS ONLY                AUTOS ONLY                                                                                    (Per accident)
                                                                                                                                                                   $
 B     X    UMBRELLA LIAB             X   OCCUR           Y    Y     UMB 2275305                         7/1/2018        7/1/2019   EACH OCCURRENCE                $ 25,000,000
            EXCESS LIAB                   CLAIMS-MADE                                                                               AGGREGATE                      $ 25,000,000

              DED          RETENTION $                                                                                                                             $
                                                                                                                                         PER             OTH-
 A     WORKERS COMPENSATION                                    Y     WC 0381329-03                       7/1/2018        7/1/2019   X    STATUTE         ER
       AND EMPLOYERS' LIABILITY                   Y/N
       ANYPROPRIETOR/PARTNER/EXECUTIVE                                                                                              E.L. EACH ACCIDENT             $ 1,000,000
       OFFICER/MEMBER EXCLUDED?                         N/A
       (Mandatory in NH)                                                                                                            E.L. DISEASE - EA EMPLOYEE $ 1,000,000
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                              E.L. DISEASE - POLICY LIMIT    $ 1,000,000
 C     Environmental Site Liability                                  G2900254A001                        4/3/2017        4/3/2021   Limits                             $5,000,000




DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
Evidence of Insurance




CERTIFICATE HOLDER                                                                             CANCELLATION 30 DAYS

                                                                                                 SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                                 THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                                 ACCORDANCE WITH THE POLICY PROVISIONS.
                  Office of the United States Trustee, District of Delaware
                  Attn: Linda Richenderfer
                  844 King Street, Suite 2207                                                  AUTHORIZED REPRESENTATIVE
                  Wilmington DE 19801


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                                                                                                                                             DATE (MM/DD/YYYY)
                                         EVIDENCE OF PROPERTY INSURANCE                                                                        10/15/2018
  THIS EVIDENCE OF PROPERTY INSURANCE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE
  ADDITIONAL INTEREST NAMED BELOW. THIS EVIDENCE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE
  COVERAGE AFFORDED BY THE POLICIES BELOW. THIS EVIDENCE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE
  ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE ADDITIONAL INTEREST.
AGENCY                        PHONE
                              (A/C, No, Ext): 800-767-7837
                                                                               COMPANY
                                                                               Norfolk Reinsurance Company Ltd.
SterlingRisk                                                                   48 Par-la-Ville Road
135 Crossways Park Drive                                                       Hamilton HM 11, Bermuda
P.O. Box 9017
Woodbury, NY 11797

FAX                         E-MAIL
(A/C, No): 516-487-0372     ADDRESS: request@sterlingrisk.com
CODE:                                    SUB CODE:
AGENCY
CUSTOMER ID #: MATTFIR-01
INSURED                                                                        LOAN NUMBER                                   POLICY NUMBER
Mattress Firm, Inc.
10201 S. Main Street                                                                                                         NFRMFPD/BI/18-19
Houston, TX 77025                                                                  EFFECTIVE DATE          EXPIRATION DATE
                                                                                                                                     CONTINUED UNTIL
                                                                                       06/01/2018            06/01/2019              TERMINATED IF CHECKED
                                                                               THIS REPLACES PRIOR EVIDENCE DATED:



PROPERTY INFORMATION
LOCATION/DESCRIPTION
THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY
PERIOD INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT
TO WHICH THIS CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS
SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.



 THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD INDICATED.
 NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
 EVIDENCE OF PROPERTY INSURANCE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS
 SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
COVERAGE INFORMATION
                                               COVERAGE / PERILS / FORMS                                              AMOUNT OF INSURANCE          DEDUCTIBLE
ALL RISK OF DIRECT PHYSICAL LOSS OR DAMAGE TO PERSONAL PROPERTY INCLUDING                                            25,000,000                100,000
PLATE GLASS, IMPROVEMENTS AND BETTERMENTS, AND BUSINESS INCOME
ON A REPLACEMENT COST BASIS, SUBJECT TO POLICY TERMS, CONDITIONS AND EXCLUSIONS.
COVERAGE INCLUDES, BUT IS NOT LIMITED TO FIRE, EXTENDED PERILS SUCH AS VANDALISM,
MALICIOUS MISCHIEF, FLOOD, EARTHQUAKE AND BOILER & MACHINERY.
Agreed Value




REMARKS (Including Special Conditions)
Evidence of Insurance




CANCELLATION
 SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE
 DELIVERED IN ACCORDANCE WITH THE POLICY PROVISIONS.
ADDITIONAL INTEREST
NAME AND ADDRESS                                                                  MORTGAGEE               ADDITIONAL INSURED
                                                                                  LOSS PAYEE
                                                                              LOAN #
              Office of the United States Trustee, District of Delaware
              Attn: Linda Richenderfer
              844 King Street, Suite 2207                                     AUTHORIZED REPRESENTATIVE
              Wilmington DE 19801


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                                                                                                                                                DATE (MM/DD/YYYY)
                                            EVIDENCE OF PROPERTY INSURANCE                                 10/15/2018
  THIS EVIDENCE OF PROPERTY INSURANCE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE
  ADDITIONAL INTEREST NAMED BELOW. THIS EVIDENCE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE
  COVERAGE AFFORDED BY THE POLICIES BELOW. THIS EVIDENCE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE
  ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE ADDITIONAL INTEREST.
AGENCY                           PHONE
                                 (A/C, No, Ext): 800-767-7837
                                                                                  COMPANY
                                                                                  Norfolk Reinsurance Company Ltd.
SterlingRisk                                                                      48 Par-la-Ville Road
135 Crossways Park Drive                                                          Hamilton HM 11, Bermuda
P.O. Box 9017
Woodbury, NY 11797

FAX                            E-MAIL
(A/C, No): 516-487-0372        ADDRESS: request@sterlingrisk.com
CODE:                                       SUB CODE:
AGENCY
CUSTOMER ID #:
INSURED                                                                           LOAN NUMBER                                   POLICY NUMBER
Stripes US Holdings, Inc.
10201 S. Main Street                                                                                                            NFRMFPD/BI/18-19
Houston, TX 77025                                                                     EFFECTIVE DATE          EXPIRATION DATE
                                                                                                                                        CONTINUED UNTIL
                                                                                          06/01/2018            06/01/2019              TERMINATED IF CHECKED
                                                                                  THIS REPLACES PRIOR EVIDENCE DATED:



PROPERTY INFORMATION
LOCATION/DESCRIPTION




 THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD INDICATED.
 NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
 EVIDENCE OF PROPERTY INSURANCE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS
 SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
COVERAGE INFORMATION                            PERILS INSURED          BASIC      BROAD           SPECIAL
                                                  COVERAGE / PERILS / FORMS                                              AMOUNT OF INSURANCE          DEDUCTIBLE
Terrorism                                                                                                               $150,000,000              $10,000




REMARKS (Including Special Conditions)
Evidence of Insurance




CANCELLATION
 SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE
 DELIVERED IN ACCORDANCE WITH THE POLICY PROVISIONS.
ADDITIONAL INTEREST
NAME AND ADDRESS                                                                     ADDITIONAL INSURED      LENDER'S LOSS PAYABLE              LOSS PAYEE
                                                                                     MORTGAGEE
                                                                                 LOAN #
                 Office of the United States Trustee, District of Delaware
                 Attn: Linda Richenderfer
                 844 King Street, Suite 2207                                     AUTHORIZED REPRESENTATIVE
                 Wilmington DE 19801


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In re Mattress Firm, Inc., et al.                       Case No. 18-12241 (CSS)
Debtor


                                       SCHEDULE OF RETAINERS PAID TO PROFESSIONALS
                                            (This schedule is to include each Professional paid a retainer)

                                                                                                                      Amount Applied
                Payee                    Payment Date              Name of Payor                        Amount            to Date        Balance
Sidley Austin LLP                         MULTIPLE      Mattress Firm, Inc.                           $3,632,702.05    $3,522,137.12    $110,564.93
Young Conaway Stargatt & Taylor, LLP        9/13/2018   Mattress Firm, Inc.                            $100,000.00              $0.00   $100,000.00
Young Conaway Stargatt & Taylor, LLP        9/27/2018   Mattress Firm, Inc.                            $150,000.00              $0.00   $150,000.00
Eqiq Corporate Restructuring, LLC           9/18/2018   Mattress Firm, Inc.                              $25,000.00             $0.00    $25,000.00
A&G Realty Partners, LLC                     8/1/2018   Mattress Firm, Inc.                            $150,000.00              $0.00   $150,000.00
A&G Realty Partners, LLC                     9/1/2018   Mattress Firm, Inc.                            $100,000.00              $0.00   $100,000.00
AlixPartners, LLP                           6/29/2018   Mattress Firm, Inc.                            $400,000.00              $0.00   $400,000.00
Guggenheim Securities, LLC                  10/3/2018   Mattress Firm, Inc.                            $300,000.00              $0.00   $300,000.00
